








 				











COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 

NO. 2-05-348-CV



LUAT LENJAU, INDIVIDUALLY AND 				 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;APPELLANT

AS REPRESENTATIVE OF THE ESTATE 

OF DAYANG LIMAU, DECEASED, AND

AS GUARDIAN OF MOSES LUAT, A 

MINOR, FLORENCE LUAT, A MINOR,

MARILYN LUAT, A MINOR, RUBINE LUAT,

A MINOR, 
MOSES LUAT, A MINOR, LAHAI 

LUAT, A MINOR AND NEWBORN LUAT,

A MINOR



V.



BELL HELICOPTER TEXTRON, INC., 		 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;APPELLEES

BELL HELICOPTER CORPORATION, 

BELL HELICOPTER KOREA, INC., 

BELL HELICOPTER INTERNATIONAL, INC., 

AND BELL HELICOPTER INTERNATIONAL 

SALES CORPORATION

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FROM THE 67TH DISTRICT COURT OF TARRANT COUNTY



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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

------------

On October 14, 2005, and November 29, 2005, we notified appellant, in accordance with rule of appellate procedure 42.3(c), that we would dismiss this appeal unless the $125 filing fee was paid. &nbsp;
See
 
Tex. R. App. P.
 42.3(c). &nbsp;Appellant has not paid the $125 filing fee. &nbsp;
See
 
Tex. R. App. P.
 5, 12.1(b).

Because appellant has failed to comply with a requirement of the rules of appellate procedure and the Texas Supreme Court’s order of July 21, 1998,
(footnote: 2) we dismiss the appeal. &nbsp;
See
 
Tex. R. App. P.
 42.3(c), 43.2(f).

Appellant shall pay all costs of this appeal, for which let execution issue. &nbsp;
See
 
Tex. R. App. P.
 43.4.

PER CURIAM

PANEL D: MCCOY, J.; CAYCE, C.J.; and LIVINGSTON, J. 

DELIVERED: December 22, 2005



FOOTNOTES
1:See 
Tex. R. App. P. 47.4.


2:July 21, 1998 “Order Regarding Fees Charged In Civil Cases In The Supreme Court And The Courts of Appeals,” 971-972 S.W.2d (Tex. Cases) XXXVIII (1998).




